                                                                                                     FILED
                                                                                            2017 Feb-14 PM 04:31
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION
ROBERT L. WIGGINS, JR., et al.,                 }
                                                }
        Plaintiffs,                             }
                                                }
v.                                              }    Case No.: 2:12-cv-02705-SGC
                                                }
FDIC, as Receiver of Superior Bank, et al.,     }
                                                }
        Defendants.                             }


                                 MEMORANDUM OPINION


        On December 20, 2016, the Magistrate Judge’s Report and Recommendation was entered

and the parties were allowed therein fourteen (14) days in which to file objections to the

recommendations made by the Magistrate Judge. The parties have since filed their objections to

the Report and Recommendation, which are fully briefed. (Docs. # 168, 169, 170, 171 175, 176,

177).

        After careful consideration of the record in this case, the Magistrate Judge’s Report and

Recommendation, and Petitioner’s objections thereto, the court hereby ADOPTS the Report of

the Magistrate Judge. The court further ACCEPTS the recommendations of the Magistrate

Judge that counterclaim Defendant Peacock’s Motion to Dismiss (Doc. # 117) be GRANTED

IN PART and DENIED IN PART. The court also ACCEPTS the recommendations of the

Magistrate Judge that Plaintiffs’ Motion to Dismiss (Doc. # 118) be GRANTED IN PART and

DENIED IN PART.

        A separate order in accordance with the Memorandum Opinion will be entered.
DONE and ORDERED this February 14, 2017.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




                                 2
